          Case 2:21-cv-01867-MJH Document 60 Filed 07/05/22 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 WILDFIRE PRODUCTIONS, L.P.,                   )
                                               )
                             Plaintiff,        )
              vs.                              )   Case No. 2:21-cv-01867-MJH
                                               )
 FENWAY SPORTS GROUP, LLC, and                 )
 FENWAY SPORTS GROUP                           )
 HOCKEYCO, LLC,                                )
                                               )
                            Defendants.        )

                                  JOINT STATUS REPORT

               Plaintiff Wildfire Productions, LP (“Wildfire”) and Defendants Fenway Sports

Group, LLC, and Fenway Sports Group HockeyCo, LLC, (collectively “Fenway”) hereby submit

this Joint Status Report.

               As directed by the Court, see Opinion and Order granting stay of proceedings

dated March 11, 2022 (ECF No. 59), the parties advise the Court that on June 29, 2022, the

Delaware Chancery Court granted the NHL’s Motion to Compel Arbitration before the NHL

Commissioner and dismissed the Delaware Litigation brought by Wildfire. A copy of the

Chancery Court Memorandum Opinion is appended. Wildfire plans to appeal the Delaware

Chancery Court’s Order to the Delaware Supreme Court.

 /s/ Robert M. Barnes                              /s/ Stephen J. Del Sole
 Daniel H. Shapira                                 Stephen J. Del Sole
 Robert M. Barnes                                  DEL SOLE CAVANAUGH STROYD LLC
 Daniel J. Stuart                                  3 PPG Place, Suite 600
 MARCUS & SHAPIRA LLP                              Pittsburgh, PA 15222
 One Oxford Centre, 35th Floor                     Telephone: (412) 261-2393
 301 Grant Street                                  Facsimile: (412) 261-2110
 Pittsburgh, PA 15219                              Attorneys for Defendants
 Telephone: (412) 471-3490
 Facsimile: (412) 391-8758
 Attorneys for Plaintiff

 Dated: July 5, 2022
